Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 1 of 25

UNITED STATES BANKRUPTCY COURT _
Middl DISTRICT OF  Jacksonwille
- Horide DIVISION
CASE NUMBER
Be ~/27)< = OF0O -~JAF

IN RE: }
+  supGE__ Funk
}
}

GA keaside [nuestinunt

DEBTOR. CHAPTER 11

DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

FOR THE P

~ FROM 5] } here TO >fal]ze2e

Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.

Za OR

—

 

Attorney for Debtor” § Sibature

 

 

 

 

Debtor's Address Attorney's Address

and Phone Number: | and Phone Number:
Jadk Rberman S452. Achustn Expy
Urge N. Peninsula Dr. Tachsonvik Fo 2221)

 

Dautom Poach Fl BANE
qoy- 1275-0822 ©

Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 20" day of
the following month. ;

 

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United
States Trustee Progra Website, hiinvwywusdoleos ysire Lines, inflows,

1) Instructions for Preparations of Debtor’ s Chapter 11 Monthly Operating Report

2) Initial Filing Requirements

3) Frequently Asked Questions (FAQS) iti kee AGO LOS RES

MOR-1

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 2 of 25

SCHEDULE OF RECEIPTS AND DISBURSEMENTS
POR THE PERIOD BEGINNING Sif [OW ANB ENDING 9 31 [SW

Name of Debtor: CabA Seaside lnyastrosats

Date of Petition:

 

i FONDS AT BEGINNING OF PERIOD
. RECEIPTS:
A. Cash Sales
Minus: Cash Refunds
Net Cash Sales
B. Accounts Receivable
C. Other Receipts (See MOR-3)
Uf you receive rental income,
you roust attach a rent roll.)
3. FOTAL RECEIPTS (Lines 2A+2B+2C)
4, TOTAL FUNDS AVAILABLE FOR
OPERATIONS (Line I + Line 3)

. DISBURSEMENTS
Advertising
Medical”
iPortopae -
- fntern a
. insurance wee

ct. eke

Contva

. Leases

Hl. Manufacturing Supplies

Office Supplies

Payroll - Net (See Attachment 48)
Professional Fees (Accounting & Legal)

. Rent

. Repairs & Maintenance

. Secured Creditor Payments (See Ataclt. 2)
. Taxes Paid - Payrall (See Attachment 4C)

Or

  

3

Om m GORE S

ZO AnoE

Zz

. Taxes Paid - Other (See Autachment 4C)
. Telephone
Travel & Entertainment

. US. Trustee Quarterly Fees
- Utilities

. Vehicle Expenses

W. Other Operating Expenses (See AOR-3)

. TOTAL DISBURSEMENTS (Sum of 5A thru 4)

7. ENDING BALANCE (ine 4 Minus Line 6)

ESO YAO

Taxes Paid ~ Sales & Use (See Attachment 4C)

Case Number { & “ Of 00

 

CURRENT CUMULATIVE
MONTEL PETITION TO DATE
1239595 Pray 89D, AMO-80 ay

€) 052-04

 

{-}

  

Raid

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ AY. be
218-02
1961 4e6 oH $4.4 §@.54
|O& -G0 5,053.94
Is441-45
Dk, LO ET
199. Uo 4, GIO-29
BY, FAY lY
—_— Gt L 44
6-00 .
DD OB } a a
. J LG -00
G s7222.-50 P+4, 564.9%
— 2), 79€-OG
1p. GG 4 45698. |
: 14, 1-13 {2 Cou. S
4,964.2 44, S411!
‘ O58 92.1 43). OTE
O22: Co S95
—— 2 DES. 1G
é &2.2 -24

 

 

 

‘098.6 { -
Po SO 4a, 140.56

CT C73, OE 192.44
1&9 Mats J40,,241- 36)

 

i declare under penalty of perjury that this statement and the accompanying documents snd reports are true

and correct to the best of my knowledge and belief,

this${ day or JOWE. 2 20

AW ~_—

/. 7 (Signature)

(a)This number is carried forward from last month’s report. Fottife first report only, this number will be the

balance as of the petition date.

(b)This fizure will not change from month to month. It is always the amount of funds on hand as of the date of

the petition.

(c)These two amounts will always be the same if form is completed correctly.

MOR-2

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 3 of 25

 
Case 3:18-bk-00800-JAF

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

May 2020 Payments
Date Payee Amount
5/1/2020| Payee 24 S 777.16
5/1/2020| Payee19 | $ 1,040.18
5/1/2020 | Payee197 |$ 187.20
5/1/2020 Payee 199 S 221.00
5/1/2020 Payee 12 S 132.66
5/1/2020 Payee 192 S$ 960.00
5/1/2020 Payee 193 S 00.00
5/4/2020 Payee24 |§ 513.82
5/4/2020 Payee 12 S$ 148.75
5/5/2020 Payee 81 $ 38.50
5/8/2020 Payee 74 § 852.59
5/8/2020 Payee 194 S 253.58
5/8/2020 | Payee195 | $ 1,800.00
5/8/2020 Payee 74 S 852.59
5/8/2020 Payee26 |S 53.40
5/11/2020 Payee 140 S 126.58
5/11/2020 Payee 168 S$ 5,322.50
‘| 5/11/2020 Payee 82 S$ 300.00
5/11/2020] Payee 82 $ 77.99
5/11/2020 Payee 78 S 255.49
5/11/2020} Payee 79 § 1,384.79
5/11/2020] Payeeii2 |$ 780.00
5/11/2020 Payee 178 S$ 250.00
5/11/2020 Payee 178 S 660.10
5/11/2020/  Payeei41 |S 645.99
5/11/2020 Payee 47 s 16.17
5/11/2020] Payee 88 § 4,157.73
5/11/2020 Payee 87 § 799.35
5/12/2020 Payee 100 S 988.24
5/12/2020} Payee 151 S$ 2,833.33
5/12/2020] Payee 41 S 93.98
5/12/2020 Payee 194 S 504.45
5/12/2020 Payee 38 S 400.00
5/12/2020 Payee 5 S 740.00
5/12/2020 Payee 176 S 134.95
5/12/2020 Payee 159 S 74.99
5/12/2020 Payee 33 S 225.35
5/14/2020 Payee 21 S 6.95
5/15/2020 Payee 84 S 2,194.55
5/15/2020} Payee 196 S 108.00
5/15/2020 Payee 19 S$ 1,041.71
5/15/2020 Payee 197 S 1,368.90
5/18/2020 Payee 22 S 980.50
5/18/2020 Payee 11 S$ 323,27

 

 

 

Doc 1279 Filed 07/02/20 Page 4 of 25

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 5 of 25

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 6 of 25

 

5/18/2020 Payee 200 160.00

 

5/18/2020 Payee 200 320.00

 

5/19/2020 Paye 107 1,913.38

 

5/19/202 Payee 3 699.34

 

5/19/2020| Payee 26 284.84

 

5/20/2020 Payee 63 498.00

 

5/20/2020 Payee 26 788.89

 

5/20/2020 Payee 193 500.00

 

5/22/2020 Payee 9 986.99

 

5/22/2020 Payee 26 121.37

 

5/22/2020 Payee 198 95.00

 

5/22/2020 Payee 199 381,42

 

5/28/2020 Payee 1 208.55

 

5/28/2020 Payee 1 283.66

 

5/28/2020 Payee 1 267.50

 

5/28/2020 Payee 1 229.00

 

5/28/2020 Payee 1 191.52

 

5/28/2020] Payee 1 145.94

 

 

5/28/2020 Payee 1 73.11

 

5/28/2020| Payee 1 69.64

 

5/28/2020] Payee 1 68.55

 

5/28/2020 Payee 1 68.55

 

5/29/2020 Payee 26 392.35

 

5/28/2020 Payee 10 54.97

 

5/28/2020 Payee 10 45.35

 

5/28/2020 Payee 10 33.97

 

5/28/2020 Payee 10 13.43

 

5/28/2020 Payee 159 124.97

 

5/28/2020| Payee 86 1,000,00

 

5/29/2020 Payee 201 385.56

 

5/29/2020 Payee 197 1,316.00

 

5/29/2020 Payee 199 278.20

 

5/29/2020 Payee 19 1,016.00

 

5/30/2020 Payee 182 198.45

 

 

5/31/2020 Payee 47 383.40

 

 

 

 

§
$
$
$
$
$
$
$
$
$
s
$
$
$
$
$
$
§
5/28/2020} Payee 1 $119.59
$
$
$
$
$
$
$
$
$
$
$
$
$
$
$
$
$
$

Total 46,244.78

 

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 7 of 25

 

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 8 of 25

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

May 2020 Deposit
Date Payee For Amount
5/1/2020 Tenant 7 Address 7 S$ 1,600.00
5/1/2020 Tenant 8 Address 8 S 1,395.00
5/1/2020 _ Tenant 16 Address16 |S ° 995.00
5/1/2020 Tenant 30 Address 30 | S 725.00
5/1/2020 . Tenant 34 Address 34 | $ 1,095.00
5/1/2020 Teannt 23 Address2?3 {S$ 1,550.00
5/1/2020 Tenant 35 Address 35 s 50.00
5/1/2020 Tenant 32 Address 32 | $ 750.00
5/1/2020 Tenant 57 Address 57 | $ 750.00
5/1/2020 Tenant 33 Address 33 S$ 1,395.00
5/1/2020 Teannt 23 Address23 |S 1,545.00
5/1/2020 Tenant 15 Addressi5 |S 995.00
5/1/2020 ’ Tenant 40 Address40 | $ 875.00
5/1/2020 Tenant 14 Address14 |S 1,100.00
5/1/2020 Tenant 42 Address 42 | $ 436.95
5/1/2020 Tenant 18 Address18 | S$ 675.00
5/1/2020 Tenant 10 Address10 | $ 1,650.00
5/1/2020 Tenant 47 Address 47 |S 1,750.00
5/1/2020 Tenant 29 Address29 | $ 700.00
5/1/2020 Tenant 52 Address 52 | $ 875.00
5/2/2020 Tenant 58 Address 58 $1,570.00
5/2/2020 Tenant 38 Address 38 | $ 875.00
5/2/2020 Tenant 4 Address 4 S$ 1,000.00
5/4/2020 Tenant 6 Address 6 S 6,805.00
5/5/2020 Tenant 48 Address48 i $ 675.00
5/5/2020 Tenant 49 Address 49 |S 600.00
5/6/2020 Tenant 54 Address 54 |S 100.00
5/6/2020 Tenant 42 Address42 |S 1,068.05
5/11/2020 Tenant 7 Address7 | $ 100.00
5/13/2020 Tenant 55 Address55 |S 600.00
5/15/2020 Tenant 24 Address 24 |S 114.50
5/16/2020 Tenant38 §| Address38 {5 52.14
5/16/2020 Tenant 55 Address55 | $ 44.00
5/16/2020 Tenant 49 Address 49 | $ 122.00
5/18/2020 Tenant 32 Address 32 |$ 47,88
5/18/2020 Tenant 48 Address 48 | $ 40.54
5/18/2020 Tenant 51 Address51 | S$ 81.04
5/18/2020 Tenant 9 Address9 |S 50.00
5/18/2020 Tenant 50 Address50 | S$ 40.54
5/18/2020 Tenant 18 Address18 |5$ 73.41
5/19/2020 Tenant 30 Address 30 | S$ 47.88
5/19/2020 Tenant 25 Address 25 $ 104.50
5/19/2020 Tenant 29 Address29 |S 95.76
5/20/2020 Tenant 52 Address 52 S 267.50

 

 

 

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 9 of 25

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 10 of 25

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5/20/2020 Tenant 40 Address 40 |S 59.80
5/20/2020 Tenant 39 Address39 | $ 130.60
5/20/2020 Tenant 57 Address 57 | $ 59.00
5/20/2020 Tenant 13 Address13 | 5 1,000.00
5/20/2020 Tenant 35 Address35 | $ 50.00
5/20/2020 Tenant 54 Address54 |S 5,877.50
5/21/2020 Tenant 9 Address9 |$ 1,550.00
5/21/2020 Tenant 25 Address25 |S 10.00
5/25/2020 Tenant 37 Address 37 | $ 50.00
5/25/2020 Tenant 39 - Address39 | $ 100.00
5/25/2020 Tenant 39 Address 39 |S 500.00
5/27/2020 Tenant 38 Address 38 | $ 100.00
5/27/2020 Tenant 50 Address 50 | $ 850.00
5/28/2020 Tenant 39 Address 39 | $ 3,900.00
5/28/2020 Tenant 44 Address 44 § 1,650.00
5/29/2020 Tenant 9 Address 9 S$ 1,350.00
5/29/2020 Tenant 3 Address 3 S 200.00
5/30/2020 | — Tenant8 Address8 |S 1,395.00
5/30/2020 Tenant 33 Address 33 |S 1,395.00
5/30/2020 Tenant 18 Address18 |S 675.00

Total: S$ 56,383.29

 

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 11 of 25

MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont'd)

Detail of Other Receipts and Other Disbursements

OTHER RECERTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-~2, Line 2C.
Cumulative
Descrintion Current Month Petition to Date

See_otttached

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL OTHER RECEIPTS

 

“Other Receipts” includes Loans from Insiders and other sources (Le. Officer/Owner, related parties
directors, rclated corporations, cfc.}. Please describe below:

Source
Loan Amount of Funds Furpose Repayment Schedule

 

 

 

OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR~2. Line
5W.
Cumulative
Description . . Current Month Petition to Date

fer, At4aclod .
bank Gakpendt

 

 

 

 

 

 

 

 

TOTAL OTHER DISBURSEMENTS ——=

NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.

MOR-3

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 12 of 25

ATTACHMENT 1

 

. MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING
“
Name of Debtor: GEA Seostch- (rural Case Number: & -B¥60
Reporting Period beginning Si! row Period ending al het

ACCOUNTS RECEIVABLE AT PETITION DATE:

 

‘ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have
not been received:

Beginning of Month Balance S {a)
PLUS: Current Month New Billings

 

MINUS: Collection During the Month 3. (b)
PLUS/MINUS: Adjustments or Writeoffs $ *
End of Month Balance 3 {c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:

 

 

POST PETITION ACCOUNTS RECEIVABLE AGING
(Show the tozal for each aging category for all accounts receivable)

0-30 Days 31-60 Days 61-90 Days Over 90Days Total

$ § § $ $ (c)

For any receivables in the “Over 90 Days” category, please provide the following:

Receivable
Customer Date Status (Collection efforts taken, estimate of collectibility.
write-off, disputed account, etc.)

Collett on ha urcin ~ n_ hou
Collectian Ap fumat

(a) This number is carried forward from last month’ s report. For the first report only, this number will be
the balance as of the petition date.

(b)This must equal the number reported in the “Current Month” column of Schedule of Receipts and
Disbursements (Page MOR-2, Line 23).

(c)These two amounts must equal.

 

 

 

 

 

 

MOR-4

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 13 of 25

ATTACHMENT 2
MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor: GEA Seaside. lyw utimnant Case Number: | §-0906

Reporting Period beginning Shh Period ending 5/31 pore

In the space below list all invoices of bills incurred and not paid sincé the filine of the petition. Do not include
amounts owed prior to filing the petition. Tn the alternative. a computer generated list of payables may be allached
provided all information requested below is included.

POST-PETITION ACCOUNTS PAYABLE

 

 

 

 

 

 

 

 

 

 

 

Date Davs
Incurred Quistandins Vendor Description Amount
TOTAL AMOUNT ees {b)

 

(1 Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting
documentation.

 

ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)
Opening Balance s (a)
PLUS: New Indebtedness Incurred This Month $
MINUS: Amount Paid on Post Petition.
Accounts Payable This Month §
PLUS/MINUS: Adjustments 5 *
Ending Month Balance 8 (c)

 

*For any adjustments provide explanation and supporting documentation, if applicable.

 

SECURED PAYMENTS REPORT
List the status of Payments to Secured Creditors and Lessors (Post Petition Only). Ifyou have entered into a
modification agreement with a secured creditor/lessor, consult with your attomey and the United States Trustee
Program prior to completing this section).
Number Total

 

 

 

 

 

Date of Post Amount of
Seécured Payment Amount Petition Posi Petition
Creditor? Due This Paid This Payments Payments
Lessar Month Month Delinquent Delinquent
TOTAL nl d)

(ayThis number is carried forward trom last month's report. For the first report only, this number will be zero.
(b. e)The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line SN).

MOR-5

 
 

Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 14 of 25

ATTACRMENT 3
INVENTORY AND FIXED ASSETS REPORT |

Name of Debtor: Gch S2nstAn bwvert mont Case Number: | 8 -0500

Renorling Period beginning Sf pow Period ending b/ oyrow

 

 

INVENTORY REPORT
INVENTORY BALANCE AT PETITION DATE: $
INVENTORY RECONCILIATION:
Inventory Balance at Beginning of Month 5
PLUS: Inventory Purchased During Month Se
VIINUS: Inventory Used or Sold Se
PLUS/MINUS: Adjustments or Write-downs Se
Inventory on Hand at End of Month $

METHOD OF COSTING INVENTORY: —_-—

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

 

 

 

INVENTORY SGING

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Less than 6 6 months to Greater than Considered
months old 2 years old 2 years old Obsolete Total Inventory
% % % % = 100%*
* Aging Percentages must equal 100%.
ci Check here if inventory contains perishable items.
Bescription of Obsolete inventory:
FIXED ASSET REPORT
FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE: (b)
(includes Property, Plant and Equipment)
BRIEF DESCRIPTION (First Report Only):
. '
Sha. OLTA) AD
FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month {a)(b)

 

MINUS: Depreciation Expense

PLUS: New Purchases

PLUSAMINUS: Adjustments or W. rite-downs
Ending Monthly Balance

 

 

 

279 ots [LD oh 162

 

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASS ETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:

 

 

heaew

 

 

(a)This number is carried forward from last month's report. For the first report only, this rumber will be the
balance as of the petition date.

(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.
Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.

MOR-6
 

Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 15 of 25

ATTACHMENT 44

MONTHLY SUMMARY OF BANE ACTIVITY - OPERATING ACCOURT
Name of Debtor: GER Seostds- wort pont Case Number: l kK “OX Ue)

Reporting Period beginning S| [uo . Period ending S| al | ww

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at ti we eLgliges Hoy. Tf bank accounts

  

 

 

other than the three required by the United States Trustee Program are necessary, permission must be obtained from

the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: TD Rawk BRANCH: Jockonville
v
ACCOUNT NAME: Popucb UKorayy pu ACCOUNT NUMBER: YS UGIACEY [UsG52° IGA

 

PURPOSE OF ACCOUNT: OPERATING
Ending Balance per Bank Statement S
Plus Total Amount of Outstanding Deposits 5
Minus Total Amount of Outstanding Checks and other debits & %
Minus Service Charges $
Ending Balance per Check Register 2 *F(a)

“Debit cards are used by Aervan 1 Jack

 

 

se] Closing Balance is negative, provide explanation:

 

 

 

The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4p; (( Check here ifcash disbursements were authorized by United States Trustee)

Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

 

 

 

 

. TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above. includes:

S Transferred to Payroll Account!
5 Transferred to Tax Account

(a) The total of this line on Attachment 4A. 4B and 4C plus the total of 4D must equal the amount reported as
“Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).

MOR-7

 
Case 3:18-bk-
18-bk-00800-JAF Doc1279 Filed 07/02/20 Page 16 of 25

Reporting Period beginning

Attach a copy of current

month bank statement and bank rec

ATTACHMENT 48

MONTBLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

Name of Debtor: GEA Seaside lwatrut Case Number:
S/l LO

_ 16-090 __

O80
Period ending & by LILO

onciliation to this Summary

of Bank Activity.

  

A standard bank reconciliation form can be found at ihe wow USGOLGOVUSL EEL TEs ES i9.hid.
NAME OF BANK: ___D rank BRANCH: ___Jodeconni le
a pak . ta ee
ACCOUNT NAME: Poperly, Vane ACCOUNT NUMBER: YsSHUAGSH/ I EZALJOA
PURPOSE OF ACCOUNT: PAYROLL
Ending Balance per Bank Statement $
Plus Total Amount of Outstanding Deposits 5

Minus Total Amount of Outstanding Checks and other debits 38 &
Minus Service Charges

Ending Balance per Check Register

*Debit cards must not be issued on this account.

#*¥f Closing Balance is negative,

The following disbursements were paid by Cash:

by United States Trustee) -

Date

 

 

The following non-payrall disbursements

Date

eeenreetmcentnert
seen CNET
seers

SARITA

(a)The total of this line o
“Ending Balance” on

Amount

 

 

ent

a AE

 

Amount

 

 

 

Payee

tence
———
one enemett

al

Payee

 

 

 

n Attachment 44, 4B and 4C
Schedule of Receipts and Disbursements

provide explanation:

Purpose

tt
nee
rt

ee

Purpose

ee
were made from this account:

$ (a)

Ue

(< Check here if cash disbursements were authorized

Reason for Cash Disbursement

nee

ee

ee

ee

ee

Reason for disbursement from this

. account

ttt
eee
tenets

tnt

MOR-9

ee

ee

ee

ee

plus the total of 4D must equal the amount reported as
(Page MOR-2, Line 7):

 
 

Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 17 of 25

ATTACHMENT 4C
MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT
Name of Debtor: Gth Sr Std. lust prob Case Number: IA = Opoe

Reporting Period beginning >| f [UL Period ending o al / WU

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found on the United States Trustee website,
hitp:/Avww.usdoj. gov/ust/r2 index.htm.

 

 

 

 

NAME OF BANK: {ID Bank BRANCH: J ackson ville
ACCOUNT NAME: Papers Maaddyorsart ACCOUNT NUMBER: 4257 OAC EY [DG S2A 50%
PURPOSE OF ACCOUNT: TAX
Ending Balance per Bank Statement 3
Plus Total Amount of Outstanding Deposits 8
Minus Total Amount of Oustanding Checks and other debitsS *
Minus Service Charges s
Ending Balance per Check Register 3 **(a)

 

“Debit cards must not be issued on this account.

=e]f Closing Balance is negative, provide explanation: U A

 

The following disbursements were paid by Cash: (0 Check here if cash disbursements were authorized by

United States Trustee)
Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

 

 

 

 

The following non-tax disbursements were made from this account:

Date Amount Payee Purpose Reason for disbursement from this account

 

 

 

 

 

 

 

 

 

 

 

 

(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
“Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).

MOR-I1
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 18 of 25

ATTACHMENT 4D
INVESTMENT ACCOUNTS AND PETTY CASH REPORT
INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks
and bonds, etc., should be listed separately. Attach copies of account statements.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of Negotiable

OL Current
Instrument Face Value Purchase Price Date of Purchase Market Value
TOTAL ene)

PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

 

 

 

(Column 2) (Column 3) (Column 4)

Maximum Amount of Petty Difference between
Location of Amount of Cash Cash On Hand (Column 2) and
Box/Account in Drawer/Acct. At End of Month (Column 3)
TOTAL 3 (b) .

 

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If
there are no receipts, provide an explanation

 

 

 

TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b) ‘§ (c)

(c)The total of this line on Attachment 4A, AB and 4C plus the total of 4D rust equal the _
amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
MOR-2, Line 7).

MOR-13

 

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 19 of 25

ATTACHMENT 5A

CHECK REGISTER - OPERATING ACCOUNT

Name of Debtor: UgF A Seaside \nvestnnen- Case Number: \S-OS3UO FOS O

_ Reporting Period beginning Ss jl [26% Period ending S [3 [20.0 _

 

NAME OF BANK: _{ ‘D [Anal BRANCH: JOU WSoniN€

ACCOUNT NAME: _Op noe Pmpecy Mon ocie aA eat
ACCOUNT NUMBER: UASTWwGuey | YAUSPALE?) &
PURPOSE OF ACCOUNT: OPERATING

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

CHECK
DATE NUMBER PAYEE PURFOSE AMOUNT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL . §

MOR-S

 
Case 3:18-bk-00800-JAF Doc1279 Filed 07/02/20 Page 20 of 25

q

ATTACHMENT 54

CHECK REGISTER - OPERATING ACCOUNT

Name of Debtor: CoEA Seaside (nuestmnent Case Number: \S-O8O
Reporting Period beginning_~>. | 1_/QOw Period ending _£ [3 po
NAME OF BANK: 1 © [Ayal BRANCH: JOC \MSonyiWe. -
ACCOUNT NAME: _ [py HOO Dropecry MON tice Muak
ACCOUNT NUMBER: UASTleGUEU | YA2USPo(&2) &

PURPOSE OF ACCOUNT: OPERATING

 

Account forall disbursements, including voids, lost checks, stop payments, etc. In the.
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

CHECK
DATE NUMBER PAYEE PURPOSE AMOUNT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL 5

MOR-S8

 
Case 3:18-bk-
8-bk-O0800-JAF Doc1279 Filed 07/02/20 Page 21 of 25

ATTACHMENT 5B
CHECK REGISTER - PAYROLL ACCOUNT

Name of Debtor: A ck cemplde- {ywextnsnk Case Number: {- BYO

Reporting Period beginning q l jagw Period ending §/al [eo

NAME OF BANK: __ 10 Bane BRANCH: _dacksonuill

ACCOUNT NAME: __ Dowyroi’s royerty Mevogs wort
ACCOUNT NUMBER: LA SHEAGCEH URLS 2U15OQ

PURPOSE OF ACCOUNT: PAYROLL

Account for all disbursements, including voids, lost payments, stop payment, etc. in the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

CHECK
DATE NUMBER PAYEE PURPOSE AMOUNT

afta

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL $

MOR-10

 

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 22 of 25

ATTACHMENT SC

CHECK REGISTER - TAX ACCOUNT

Name of Debtor: GEA Seastels. Lott Case Number: | %-OKO

Reporting Period beginning S I how Period ending __ 3 [ol hore

 

NAME OF BANK: __lD ant BRANCH: 7 acksonulle
Doytora,

ACCOUNT NAME: Property Hover ACCOUNT # YAS HLGEUBY/ 126524 104
PURPOSE OF ACCOUNT: TAX
Account for all disbursements, including voids, lost checks, stop paymenis, etc. Tn the

alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHECK.

DATE NUMBER PAYEE PURPOSE AMOUNT
ek Nk

TOTAL | (@)

SUMMARY OF TAXES PAID

Payroll Taxes Paid (a)
Sales & Use Taxes Paid (b)
Other Taxes Paid ___ Le)
TOTAL (d)

(a) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
(Page MOR-2, Line 50).

(b) This number is reported in the “Current Month” column of Schedule or Receipts and Disbursements
(Page MOR-2, Line 5P).

(c) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
(Page MOR-2, Line 5Q). .

(d) These two lines must be equal.

MOR-12

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 23 of 25

ATTACHMENT 6
MONTHLY TAX REPORT
Name of Debtor: G&A Seayiar lve pent Case Number: | ¥-O 300
Reporting Period beginning __2 | ( hus Period ending © | 2 Joao
TAXES OWED AND DUE

Report all unpaid post-petition taxes including F ederal and State withholding FICA, State sales
tax, property tax, unemployment tax, State workmen's compensation, etc.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of Date — Date Last
Taxing Payment Tax Return Tax Return
Authority Due Description Amount Filed Period
(blusia Proyert) _ Taxes 1.00
vs TAS lulns
TOTAL $

MOR-14

 

 
Case 3:18-bk-00800-JAF Doc1279 Filed 07/02/20 Page 24 of 25

ATTACHMENT 7

 

SUMMARY OF GFFICER OR OWNER COMPENSATION
SUMMARY OF PERSONNEL AND INSURANCE COVERAGES
Name of Debtor: GEA Seaside lrrdrut Case Number: } % OOO
Reporting Period beginning 1Asew Period ending S[Bl[rar

Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include
car allowances, payments to retirement plans, loan repayments, payments of Officer/Owner’s personal expenses,
insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.

Payment
Name of Officer or Owner Title Description Amount Paid

 

 

 

 

 

 

 

PERSONNEL REPORT

Full Time Part Time
Number of employees at beginning of period

Number hired during the period yi
Number terminated or resigned during period
Number of employees on payroll at end of period

 

CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers’ compensation, liability, fire, theft,
comprehensive, vehicle, health and life. For the first report, attach a copy of the declaration sheet for each type of
insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during
the month (new carrier, increased policy limits, renewal, etc.).

 

 

Agent , Date
and/or Phone Policy Coverage Expiration Premium
Carrier Number Number Type Date Due

UA

 

 

The following lapse in insurance coverage occurred this month:

Policy Date Date
Type Lapsed Reinstated Reason for Lapse

 

 

7 Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.

MOR-I5

 
Case 3:18-bk-00800-JAF Doc 1279 Filed 07/02/20 Page 25 of 25

ATTACHMENT 8

SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not
reported on this report, such as the sale of real estate (attach closing statement): (2) non-financial transactions, such
as the substitution of assets or collateral; (3) modifications to loan agreements; (4) change in senior management,
etc, Attach any relevant documenis.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

We anticipate filing a Plan of Reorganization and Disclosure Statement on or before .

MOR-16

 
